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9
                                  IN THE UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11

12                                          OAKLAND DIVISION

13   IN RE CATHODE RAY TUBE (CRT) ANTITRUST                Master Case No 4:07-cv-05944-JST
     LITIGATION
14
                                                           MDL No 1917
15
     This Relates to:
16                                                         SPECIAL MASTER’S REPORT &
     ALL DIRECT PURCHASER ACTIONS                          RECOMMENDATION ON IRICO’S
17
                                                           DOCUMENTS SUBMITTED FOR IN
     ALL INDIRECT PURCHASER ACTIONS                        CAMERA REVIEW
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21                  Pursuant to the January 12, 2023 Report & Recommendation on Plaintiffs’

22   Motion to Compel Evidence Preservation Documents (ECF 6140, 6146), Defendants Irico Display

23   Devices Co, Ltd and Irico Group Corporation (collectively “Irico”) submitted their ex parte

24   submission dated January 25, 2023 with documents or communications regarding evidence

25   preservation that Irico believed are subject to a claim of privilege for in camera review.

26                  The undersigned issues this discovery report and recommendation pursuant to

27   the court’s appointments. See ECF 5301, 6107.

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                                                                                                   1
     SPECIAL MASTER’S REPORT & RECOMMENDATION
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1                   Having reviewed the documents submitted for in camera review, the

2    undersigned finds that the documents are relevant to Irico’s evidence preservation efforts in

3    this litigation. Irico’s proposed redactions appear appropriate and reasonable. In light of the

4    Plaintiffs’ preliminary showing of spoliation sufficient to overcome the privilege generally

5    afforded to attorney client communications regarding evidence preservation efforts (see ECF

6    6146, page 6), the undersigned concludes that these documents (with Irico’s proposed

7    redactions) should be produced to Plaintiffs forthwith. Irico shall produce these documents

8    with the proposed redactions to Plaintiffs no later than February 13, 2023. Irico shall confirm

9    by ex parte submission to the undersigned that its in camera submission includes documents

10   and information that Irico’s counsel requested from Pillsbury on or after January 12, 2023. See

11   ECF 6146, page 10.

12
     Date: February ___,
                    9th 2023
13
                                                  __________________________________
14
                                                              Vaughn R Walker
15                                                   United States District Judge (Ret)

16
     The Recommended Order of the Special Master is Accepted and Ordered / Denied / Modified.
17

18   Date: _________________
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20                                                ___________________________________
                                                           Honorable Jon S Tigar
21
                                                        United States District Judge
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     SPECIAL MASTER’S REPORT & RECOMMENDATION
